 

Case 3:17-cv-00072-NKM-JCH Document 1066 Filed 09/13/21 Page 1lof9 Pageid#: 17817

OFFICE U.S. DIST. COURT
IN THE UNITED STATES DISTRICT COURT FOR TH ECLERK S HARLOTTESVILE, VA

FILED
WESTERN DISTRICT OF VIRGINIA
SEP 13 2021
Charlottesville Division
JULIA GC.
Elizabeth Sinesi] et~al f BY:
Plaintiff L
v t Case No:3:17-cv-072-NKM
Jason Kessler, et al t
Defendants t

MOTION IN LIMINE FOR A DETERMINATION THAT ANIMUS AGAINST THE
DOMESTIC TERROR ORGANIZATION ANTIFA AND OTHER MEMBERS OF THE WOKE
PROGRESSIVE LEFT IS NOT A FORM OF "CLASS BASED INVIDIOUSLY DISCRINI-

NATORY ANIMUS" PROHIBITED BY 42 USC §1985(3)

Comes Now the pefendant > Christopher Cantwell, and,whe Moves. this Court
In Limine For A Determination That Animus Against The Domestic Terror
Organization And Other Members Of The Woke Progressive Left Is Not A
Form of “Class Based Invidiously Discriminatory Animus” Prohibited By
42 USC §1983(5). In support, he states as follows: .

1) [n this matter, Plaintiffs are a group of members, supporters, or
affiliates of the Antifa domestic terror organization who have ap-.
propriated the identity of “Negroes and Republicans", the only groups
ever protected by US Const Amend XIII and 42 USC §1985(3), as a mask,
Similar to the masks that. they wear during their terror attacksl!
in which to wage legal warfare as a continuation of the physical
warfare they engaged in on the streets of Charlottesville August
11 and 12, 2017. The Court, relying on two overruled precedentsl
Vietnamese Fishermen's Association v Knights of the Ku Klux Klan
518 F Supp 993 (SD Tx: 1981) abrogated by United Brotherhood of

Carpenters and Joiners Of America v Scott ("United Brotherhood")

 

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463 US 825 (1983)-and Waller v Butkovich 584 F Supp 909 (4th Cir
1984) abrogated by Harrison v HVAT Food Management 766 F 2d 155 (4th
Cir 1985), has allowed the Plaintiff's theory that, as Communists
who have taken upon themselves the mantle of the Negro they are

a "protected class". However, the time has come to remove this veil
and to find that the Plaintiffs are not heirs to the 1870s O#¥1960s
Répabtitansvon:Civil Rights movement and that animus against them

7s not invidious.

Cantwell] has previously, in his Response To Plaintiffs' Motion For
Sanctions Against Defendant Matthew Heimbach ("Heimbach response")
and elsewhere JTaid out what he believes the facts will be at trial.
Particularly as regards the August 11, 2017, event, the evidence
will show that Plaintiffs Romero and Doe knowingly associated with
a group of armed men and: women whom they knew to be in part consti-
tuted of convicted felons and other.criminals and whom they knew to
use the name "Philly Antifa" and "SURJ Charlottesville" and whom

they knew to affiliate with the Antifa domestic terror organization.

Cantwell has also Jaid out previously much ofitthe current state of
the law as regards 42 USC §1985(3) in his Motion In Limine For A
Determination That Bias Against Those Who Identify As "Jews" Is Not
A Form Of "Glass Based Invidiously Discriminatory Animus" Prohibited
By 42 USC §1985(3), and, Cantwell incorporates that argument here

by reference.

The Supreme Court has, in the modern era, only once approved an
action under 42: USC §1985(3), and, that was in Griffin v Brecken-
ridge 403 US 88 (1971}. There, the Plaintiffs were. a group of Negroes,

who, while travelling on the highways, were stopped by a group of

men who blocked the road, forced them from the car at gunpoint,

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and whipped them because they believed that they were Civil Rights

activists, i.e., that they were seeking equality of rights for .
Negroes under the law. Then, in United Brotherhood, the Supreme
Court clarified who exactly was protected under 42 USC §1985(3),
stating:
"It is a close question whether §1985(3) was intended to reach any
class based animus other than animus against Negroes and those
who championed their causel! most notably Republicans ... The.
predominant purpose of §1985(3) was to combat the prevailing ani-
mus against Negroes and their supporters. The latter inciuded
Republicans generally, as wet] as others, such as Northerners who

came South with sympathetic views towards the Negro."
United Brotherhood then went on to specifically exclude private

 

conspiracies against US Const Amend I protected rights and consp-
fracies motivated by economic resentments or class from 42 USC

§1985(3)'s ambit.

5) Since deciding United Brotherhood, the Supreme Court has consistently
ruled that the civil rights laws passed during Reconstruction have to
be interpreted in the social context of the 1870s and not in a modern
social context to determine whether or not a person is part of.a.
protected class. see, eg, Saint Francis College v Al-Khazraj 481
US 604 (1987) (interpreting 42 USC §1981, which is not dependent on
US Const Amend XIII as. here); Shaare Tefita Congregation v Cobb 481
US 615 (1987) (interpreting 42 USC §1982, also not dependent on US
Const Amend XIII). This is part of a two part inquiry required to’
establish liability under 42 USC $1985¢3), first, an objective in-
quiry into whether or not the "class".involved is one protected
under US Const Amend XIII, and, second, the subjective inquiry: into

whether or not the actual animus displayed was invidious and disc-

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riminatory towards that class.

6) The Supreme Court clarified its understanding of the social context
of Reconstruction in Briscoe v LaHue 466 US 325 (1983):
"The Ku Klux Kian Acti!.17 Stat 13, was enacted April 20, 1871, less
than a month after President Grant sent a message to Congress de-
scribing the breakdown of Taw and order in the Southern States.
Cong Globe 42d Cong lst Sess 236, 244 (1871). During the debate,
Supporters of the bill repeatedly described the reign of terror
imposed by the Klan ... arson, robbery, whippings, shootings,
murders ... These acts of lawlessness went unpunished ... because
Klan members and sympathizers controlled or influenced the admin-
istration of justice."
The Court went on to described how members of the Klan took an oath -
to serve on juries and acquit fellow Klansmen and to serve as wit-
nesses to acquit fellow Klansmen. It then found that "racist" police
officer and prosecutors lying on the stand to convict Negroes was
not the modern equivalent of this kind of Tawless vigilante behavior
and refused to extend 42 USC §1985(3) to witnesses who Ife to obtain

convictions.

7) Simftarly, Justice Blackmun, in his dissent in United Brotherhood,
stated that 42 USC §1985(3) could only be extended to “classfes]-of
persons" who do not enjoy "the possibility of effectivesstate:enforee-
ment of their rights’, a statement that the Fourth Circuit took to
heart in Buschi v Kiein 775 F 2d 1240 (4th Cir 1985). There the

Court ruled that "the class protected Eby 42 USC §1985(3) and US
Const Amend XIII] can etend no further than to those classes of pers-

ons who are, so far as the enforcement of their rights is concerned,

‘in... circumstances similar to the victims of Klan violence.'”

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The Fourth Circuit then went on in Harrison v HYAT Food Management

706 F 2d 155 (4th Cir 1985), to explain that social conditions have
changed so that the "Republicans" protected by 42 USC §1985(3) no
longer include actual Republicans. It found that:the reason that
Republicans had been included in the, protected classes under US
Const Amend XIII and 42 USC §1985(3) was that:
"The failure or inability on the part of local southern govern-
ments to control the Klan was particularly troubling to Republican
Congressmen ... Republicans were discriminated [against] by the
apparent alliance between the Klan and Southern Democrats, which
Repubticans viewed as a conspiracy to establish Democratic hegemony
in the South ..."
Harrison citing Randall, The Civil War And Reconstruction (1937) p
854-858; Comment, A Construction Of Section 1985(c) In Light Of Its
Original Purpose 46 Univ of Chi L Rev 402 (1979); Note Federalism
And Federal Questions: Protecting Civil Rights Under The Regime Of
Swift _v Tyson 70 Va L Rev 267 (1984).

in sum, Briscoe, Buschi and Harrison state that, in order for a *
class of people who are not Negroes to fal? under the protection

of US Const Amend XIII, and, by extension, 42 USC §1985(3), they
cannot be the "woke" victims of "oppression" of the moment de jure.
This class of persons has to show that they are unable to avail them-
selves of their rights because of a conspiracy between private vig-
ilantes and the state, or, at least, some segment of state authority.
This does not mean that the state has to participate in a US Const
Amend XIII conspiracy, as al] conspiracies.to impose slavery are
prohibited. But, for a political association, such as Antifa or
woke progressives generally, to enjoy protection, they have to do

more than claim to represent the interests of the Negro; they also

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have to be subjected to lawlessness as a result of the state and

society's refusal to protect their legal rights.

10) The two cases that the Court has cited to protect the Antifa Plaint-
iffs as "Republicans" and "supporters of the Negro” are Vietnamese
Fishermen's Assoc v Knights of the Ku Klux Klan 518 F Supp 993 (Sth
Cir 1981) and Waller v Butkovich 584 F Supp 909 (4th Cir 1984).

 

Vietnamese Fishermen's Association used a pre-United Brotherhood

 

definition of protected class to find that “immigrants and their
Supporters" were a protected class; the Court's approach of sep-
arating national origin.. from race in Al-Khazraj makes it doubly —
certain that "immigrants" would not be found to be protected under
US Const Amend XIII today, while "their supporters" would certainly
not qualify. Walter fs’ remarkably similar to the instant factual
circumstances; there, the Communist Workers Party organzied a
“Death to the Klan” rally, appeared armed, and, brandished firearms
when a group of Kian demonstrators, organized by federal informants,
appeared to counter them. Local and state police refused to inter-
vene, and, the Klansmen were forced to defend themselves with Tong
guns; the gun battle ended in a slaughter of the Communist demon-
strators. The key factual difference here is that state and tocal
police withdrew police protection from the Charlottesville events

in support of the Antifa terror organization in the hopes that they
would murder the Defendants here, and, it was only by good fortune
that the outcome was avoided. Legally, however, Waller #5 on a:weak
foundation. The Court explained the reasoning it used to sustain

the action in greater detail in Waller v Butkovich 605 F Supp 1137

 

(4th Cir 1985), where it found that "Communists" and "“anti-Communists"
were both protected classes using a logic specifically rejected in

Harrison.

 
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11) Looking at the actual social situation in the United States today,
the Ku Klux Klan Act is more appropriately used against Antifa and
members of the woke progressive left to protect white working people
and their supporters than it is used to protect the Antifa domestic
terror organization. Here, the Plaintiffs appeared at the Thomas
Jefferson. statue (and, the next day, near Lee Park) armed, in battle
uniforms, intending to prevent the Defendants, who were peacefully
demonstrating, from travelling in a public right of way. They at-
tatkéd<the Defendants, and, then, they have falselyicome into this
Court claiming to have been attacked, expecting that witnesses will
commit perjury and a jury will enter judgment in their favor based
upon fear of their vigilante-ism protected by the state. Cantwell,,.
in his deposition (which he stil] does not have.a copy of), describ-
ed the Plaintiffs as the “militia of the Democratic Party", which
is essentially the role played by the Klan in the 1870s. One only
has to look cover to the Plaintiff's table to see how the power
Structure has lined up to protect the vialence of the Plaintiffs;
$10r million dollars has been raised on their behalf f

with the hastag #SueANazi. This case is not only sup-
ported by the state power structure, it is big business for that
power structure, while the Defendants are largely marginalized and
Powerless people who, Tike Negroes in the 1870s South, cannot rely
on law enforcement to protect their rights. How many rifle-wielding
Antifa have been arrested after these rallies? How many federal
agents were sent in to infiltrate Antifa groups and arrest them
for their conspiracies to riot on August 11 and 12, 20177 The ans-
wer is none, while federal and state authorities have poured crim-

inal charges on the white nationalist protestors. US Const Amend

III was enacted to protect the powerless from being enslaved by

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12)

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the powerful, not to protect those who wish to impose Soviet-style
slaveryvon every man, woman, and, child in the United States from

those who would resist them.

Further, the Antifa and woke-progressive Plaintiffs cannot reason-
ably claim to be similarly situated. to the Plaintiffs in Griffin,
because the Plaintiffs in Griffin were perceived to be civil rights
activists, seeking Negro equality. The Antifa and woke-progressive
Plaintiffs openly state that they do not wish to see equality, but,
that they wish to use violence to harm white people; their claim
that this somehow advances the position of the Negro is not the

kind of “support” for the Negro that §1985(3) envisions as protected.
If these Plaintiffs had been part of a peaceful unarmed crowd call-
ing for all to enjoy equal rights, then, perhaps they could claim
the mantle of the 1870s Republicans or 1960s civil rights activists.
But, their ideology of actively suppressing white identity through
violence and their tactics of using physical violence, as well as
their actually having appeared armed and looking for a fight put

them beyond the:lTaw's protection.

Lastly, because of the social evil that Antifa and the woke pro-
gressive represent, animus against them, even if they might other-
wise constitute a protected class, cannot be considered “invidious";
it is a social good. As will be developed at trial, the Plaintiffs
in this matter believe in stripping whites of their civil rights,
nominally to advance the Negro, actually to advance the kind of
wealthy elite interests that have volunteered to appear

in this matter to represent them. This kind of movement, because

it is anathema to the principles of America's Founding, as many of

its members will openly admit, is not the kind of movement to ad-

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vance those principles against whom animus might be “invidious".
Thus, as‘ = there are good and rational reasons for opposing a
movement that spent atl of 2020 burning and looting American cities
and trying to topple the lawfully elected, animus against the Plaint-
iffs is nopt prohibited by 42 USC §1985(3).

Respectfully Submitted,

C lif J ZE

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CERTIFICATE OF SERVICE

I hereby certify that this Motion in Limine was mailed to the Clerk of

the Clerk,“1st-Class Postage Prepaid, for posting upon the ECF, to which

ali other parties are subscribed; and, handed to’ USP-Marion staff members

Nathan Simpkins and/or Kathy Hil? for electronic transmission to the

this 13th day of te on

Christopher Cantwe [7

Court,
